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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                              Case No. 1:21-cv-06546

                        Plaintiff /                   The Honorable John R. Blakey
                        Counterclaim-Defendant,

        v.

 VINTAGE BRAND, LLC,

                        Defendant /
                        Counterclaim-Plaintiff.


                  DEFENDANT VINTAGE BRAND, LLC’S UNOPPOSED
                     NOTICE OF SUPPLEMENTAL AUTHORITY

       Vintage Brand, LLC (“Vintage Brand”) respectfully submits this Notice of Supplemental

Authority in support of its Opposition to The Board of Trustees of the University of Illinois’s (the

“University”) Second Motion to Strike Certain Affirmative Defenses. ECF 55, 58, 62. Vintage

Brand files this Notice to bring to the Court’s attention a recent Memorandum Opinion issued by

Chief Judge Matthew W. Brann of the Middle District of Pennsylvania: The Pennsylvania State

University v. Vintage Brand, LLC, _F. Supp. 3d _, 2022 WL 2760233 (M.D. Pa. July 14, 2022),

which is available electronically on Westlaw and attached hereto as Exhibit A. The Memorandum

Opinion is dated July 14, after the July 8 deadline for Vintage Brand’s Opposition brief.

       Although the Memorandum Opinion was issued at a different procedural posture, Chief

Judge Brann includes a thorough discussion of the affirmative defense of aesthetic functionality

as applied specifically to Vintage Brand, which is one of the defenses the University seeks to strike

through its Motion. As such, Vintage Brand respectfully requests that the Court take notice of the




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Memorandum Opinion as supplemental authority in support of Vintage Brand’s Opposition to the

University’s Motion to Strike. The University does not oppose Vintage Brand’s submission of this

supplemental authority.



 DATED this 21st day of July, 2022.

                                      /s/ Theresa H. Wang
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